                  Case 1-18-40374-cec                  Doc 23   Filed 08/15/18    Entered 08/15/18 14:16:57


 Information to identify the case:
 Debtor 1              Evelina Ruvolo                                            Social Security number or ITIN   xxx−xx−3153
                       First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
 Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Eastern District of New York

 Case number: 1−18−40374−cec




                                                              FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



         • Debra Kramer (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

         • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                                 s/ Carla E. Craig
                                                                                 United States Bankruptcy Judge

 Dated: August 15, 2018




BLfnld7 [Final Decree 7 rev 12/01/15]
